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                                                                  FILED: November 3, 2011

                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

                                        ___________________

                                              No. 11-267
                                        (5:99-cr-00070-RLV-3)
                                        ___________________


        In re: ALPHONSO RAVON MORRISON, a/k/a Ravon, a/k/a Fat Boy

                       Movant

                                        ___________________

                                             ORDER
                                        ___________________

                 Movant has filed a motion under 28 U.S.C. § 2244 for an order authorizing

        the district court to consider a second or successive application for relief under 28

        U.S.C. § 2255.

                 The court denies the motion.

                 Entered at the direction of Judge Duncan with the concurrence of Judge Agee

        and Senior Judge Hamilton.

                                                For the Court

                                                /s/ Patricia S. Connor, Clerk




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